

Matter of Mullett v Mullett (2017 NY Slip Op 07849)





Matter of Mullett v Mullett


2017 NY Slip Op 07849


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, NEMOYER, AND TROUTMAN, JJ.


1236 CAF 15-01470

[*1]IN THE MATTER OF THOMAS MULLETT, PETITIONER-APPELLANT,
vDAWN MULLETT, RESPONDENT-RESPONDENT. 






CHARLES J. GREENBERG, AMHERST, FOR PETITIONER-APPELLANT.
TIMOTHY R. LOVALLO, BUFFALO, FOR RESPONDENT-RESPONDENT.
MARY ANNE CONNELL, ATTORNEY FOR THE CHILD, BUFFALO. 


	Appeal from an order of the Family Court, Erie County (Mary G. Carney, J.), entered August 5, 2015 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition seeking modification of a prior order of joint custody. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated at Family Court.
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








